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 1
                        IN THE UNITED STATES DISTRICT COURT
 2                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 3
 4                                               )   Case No.: 2:20-cr-00032-JCC
     United States of America,                   )
 5                                               )
                  Plaintiff,                     )
                                                 )   ORDER RE REQUEST FOR
 6
           vs.                                   )   PERMISSION TO PARTICIPATE IN
 7                                               )
     Johnny Roman Garza,                         )   INTERVIEW
 8                                               )
                  Defendant.                     )
                                                     (Defendant is Out Custody)
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10
11
           UPON Motion to Appear Telephonically and; Defendant presenting good cause
12
13   for this request and, good cause appearing therefore;

14         IT IS ORDERED ALLOWING, Defendant permission to participate in the
15
     interview with Mr. Ingalls via online video chat program as requested by Mr. Ingalls.
16
           DATED this _____         December
                       16th day of _______________, 2020.
17
18                                            ___________________________
                                              Hon. John C. Coughenour
19
                                              U.S. District Judge
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